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Steven Mahon,
Plaimiff,

VS.

Enhanced Recovery Company, LLC; and
DOES l-lO, inclusive,

Defendants.

 

COMPLAINT
For this Complaint, the Plaintiff, Steven Mahon, by undersigned counsel, states as
follows:
,|URISDICTION

1. This action arises out of Defendants’ repeated violations of the Fair Debt
Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”) and the Telephone Consumer
Protection Act, 47 U.S.C. § 227, et s'eq. (“TCPA”).

2. Venue is proper in this District pursuant to 28 U.S.C. § l39l(b), in that the
Defendants transact business in this District and a substantial portion of the acts giving rise to
this action occurred in this District.

PARTIES

3. Plaintiff, Steven Mahon (“Plaintiff”), is an adult individual residing in Crimora,

Virginia, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3) and is a “person”

as the term is defined by 47 U.S.C. § 153(39).

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4. The Defendant, Enhanced Recovery Company, LLC (“ERC”), is a Florida
business entity with an address of 8014 Bayberry Road, Jacksonville, Florida 32256, operating
as a collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6)
and is a “person” as the term is defined by 47 U.S.C. § 153(39).

5. Does 1-10 (the “Collectors”) are individual collectors employed by ERC and
whose identities are currently unknown to the Plaintiff. One or more of the Collectors may be
joined as parties once their identities are disclosed through discovery.

6. ERC at all times acted by and through one or more of the Collectors.

ALLEGATIONS APPLICABLE TO ALL COUNTS

 

A. The Debt

7. A financial obligation (the “Debt”) was allegedly incurred to an original creditor
(the “Creditor").

8. The Debt arose from services provided by the Creditor which were primarily for
family, personal or household purposes and which meets the definition of a “debt” under 15
U.S.C.§ l692a(5).

9. The Debt was purchased, assigned or transferred to ERC for collection, or ERC
was employed by the Creditor to collect the Debt.

10. The Defendants attempted to collect the Debt and, as such, engaged in
“communications” as defined in 15 U.S.C. § 1692a(2).

B. ERC Engages in Harassment and Abusive Tactics
ll. Within the last year, ERC called Plaintiff in an attempt to collect the Debt from

“Laura Love” hereafter (the “Debtor").

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12. During all times mentioned herein, ERC called Plaintiff by using an automatic
telephone dialer system (“ATDS” or “predictive dialer").

13. When Plaintiff answered the calls from ERC, he was met with a period of silence
before being connected with a live representative

14. During a live conversation in or around May 2016, Plaintiff informed ERC that he
does not speak with the Debtor and directed ERC to cease all calls to him.

15. Despite the foregoing, ERC continued calling Plaintiff using ATDS in an attempt
to collect the Debt.

16. ERC’s calls directly interfered with Plaintiff’s right to peacefully enjoy a service
that Plaintiff paid for and caused Plaintiff a significant amount of anxiety, frustration and

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vIoLATIoNs oF THE FDCPA 15 U.s.c. 1692 et se .

17. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
as though fully stated herein.

18. Defendants’ conduct violated 15 U.S.C. § l692b(3) in that Defendants contacted
Plaintiff in regards to the Debtor’s debt on numerous occasions, without being asked to do so.

19. Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged in
behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in
connection with the collection of a debt.

20. Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that Defendants caused a
phone to ring repeatedly and engaged the Plaintiff in telephone conversations, with the intent to

annoy and harass.

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21. Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants used unfair
and unconscionable means to collect a debt.

22. The foregoing acts and omissions of the Defendants constitute numerous and
multiple violations of the FDCPA, including every one of the above-cited provisions

23. Plaintiff is entitled to damages as a result of Defendants’ violations.

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vloLATIoNs oF THE TCPA 47 U.s.c. § 227, et seg.

24. Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

25. Plaintiff never provided his cellular telephone number to Defendant or the
Creditor and never provided his consent to be contacted on his cellular telephone.

26. Without prior consent Defendant contacted the Plaintiff by means of automatic
telephone calls or prerecorded messages at a cellular telephone in violation of 47 U.S.C. §
227(b)(1)(A)(iii).

27. Defendants continued to place automated calls to Plaintiff’s cellular telephone
after being advised multiple times it had the wrong number and knowing there was no consent to
continue the calls. As such, each call placed to Plaintiff was made in knowing and/or willful
violation of the TCPA, and subject to treble damages pursuant to 47 U.S.C. § 227(b)(3)(C).

28. The telephone number called by Defendant was and is assigned to a cellular
telephone serviced by Boost Mobile for which Plaintiff incurs charges for incoming calls
pursuant to 47 U.S.C. § 227(b)(1).

29. The calls from Defendant to Plaintiff were not placed for “emergency purposes"

as defined by 47 U.S.C. § 227(b)(l)(A)(i).

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30. Plaintiff was annoyed, harassed and inconvenienced by Defendant’s continued
calls.

31. Defendant’s telephone system has the capacity to store numbers in a random and
sequential manner.

32. As a result of each ca11 made in negligent violation of the TCPA, Plaintiff is
entitled to an award of $500.00 in statutory damages for each ca11 in violation of the TCPA
pursuant to 47 U.S.C. § 227(b)(3)(B).

33. As a result of each ca11 made in knowing and/or willful violation of the TCPA,
Plaintiff is entitled to an award of treble damages in an amount up to Sl,500.00 pursuant to 47
U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

PRAYER FOR RELIEF

WHEREFORE, the Plaintiff prays that judgment be entered against the Defendants:

l. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the Defendant;

2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)
against the Defendant;

3. Costs of litigation and reasonable attomey’s fees pursuant to 15 U.S.C. §
1692k(a)(3) against the Defendant;

4. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);

5. Punitive damages; and

6. Such other and further relief as may be just and proper.

TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: April 7, 2017

Respectfully submitted,

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/s/ Stan Michael Maslona
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